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                                        EITAN ARUSY


Eitan Arusy is the CEO and owner of Netzach Oz Consulting Ltd.

A career Intelligence Officer, he worked for the corporate intelligence firms Arcanum Global Inc.
(Washington, DC) and Arcanum, AG (Zurich, Switzerland) from July 2007 until today and holds
the position of Vice President for Intelligence and Research. In this position he managed cross-
border international fraud investigations as well as top terrorism financing and AML
investigations advising governments from all over the globe, major international law firms,
multinational corporations and high net worth individuals.

Prior to that Mr. Arusy was with the New York County District Attorney’s Office (DANY) from
2005, where he was the Head of Intelligence Analysis for Investigation Division Central. In this
capacity he led investigations targeting terrorism financing, money laundering and international
banking frauds. Mr Arusy has extensive experience in financial crimes enforcement, sanctions
enforcement, anti-money laundering investigations and terrorism financing. He has worked
closely with the intelligence and law enforcement communities in the US, Europe and the
Middle East on these matters.

Mr. Arusy has also conducted investigations together with foreign governments, victims and
multinational corporations to uncover and prosecute large-scale frauds and thefts. In this
capacity, he directed the analysis and coordination of Suspicious Activity Reports (SARs),
Currency Transactions Reports (CTRs) and Financial Crime Enforcement Network (FINCEN)
products to collect intelligence data for such investigations. During his tenure at DANY he
worked with U.S. Federal Law Enforcement and Intelligence Agencies as well as with foreign
governments and he was an expert witness in several landmark cases for the Government.

Prior to his position with DANY he served as an Intelligence Officer with the Israeli Defense
Forces (IDF), retired as a Major. In this role, he was responsible for collecting and analyzing
intelligence material including terrorism financing and money laundering. His responsibilities
also included the analysis of intelligence data and developing operational analysis.

Mr. Arusy is fluent in English, Hebrew and Arabic.
